                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              Fifth Cir. Case NO.          23-40094

Ethridge                                                                    vs. Samsung SDI
(Short Title)
The Clerk will enter my appearance as Counsel for Samsung SDI Co. Ltd.



______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)                  Appellee(s)                              Intervenor

       I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Raymond Kutch, Jr.                                                          rkutch@thompsoncoe.com
(Signature)                                                                      (e-mail address)

 Raymond M. Kutch, Jr.                                                            24072195
(Type or print name)                                                             (State/Bar No.)

 Partner
(Title, if any)

 Thompson, Coe, Cousins & Irons, LLP
 __________________________________________________________________________________________
(Firm or Organization)
Address                  One Riverway, Ste. 1400

City & State Houston, TX                                                                               Zip 77056

Primary Tel._ 713-403-8210                     Cell Phone:
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Raymond        M. Kutch, Jr.
                          ________________________________________________________________________________
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.


B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No

           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No

           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:
  Kurt Decker v. Samsung SDI and Milwaukee Tools; 2:21-CV-00181. The trial court dismissed
  Samsung SDI for identical jurisdictional reasons as this matter. The case is not final.
Name of Court or Agency
                        Southern District of Texas - Corpus Christi Division

Status of Appeal (if any)_
                          An appeal has not been filed yet.
Other Status (if not appealed) Plaintiff is still litigating his claims against Milwaukee Tools.
NOTE: Attach sheet to give further details.                                                                         DKT-5A REVISED January 2022
